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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF TEXAS
                                HOUSTON DIVISION

HOLMES PROSTHETIC CENTER LLC                         §
                                                     §
       Plaintiff,                                    §
                                                     §
v.                                                   §
                                                     §        CIVIL ACTION NO. 4:20-CV-1633
ZURICH AMERICAN INSURANCE                            §
COMPANY AND SEDGWICK CLAIMS                          §
MANAGEMENT SERVICES INC.                             §
                                                     §
       Defendants.                                   §

             JOINT STIPULATION OF DISMISSAL WITHOUT PREJUDICE

       Pursuant to Rule41(a)(1)(A)(ii) of the Federal Rules of Civil Procedure, PLAINTIFF

HOLMES PROSTHETIC CENTER LLC and Defendants ZURICH AMERICAN INSURANCE

COMPANY AND SEDGWICK CLAIMS MANAGEMENT SERVICES INC., by and through

their attorneys, respectfully and jointly submit this Stipulation of Dismissal of this action without

prejudice, each party to bear its own costs and fees. The parties request that the Clerk of Court

now close this case.

MANFRED STERNBERG                     SHACKELFORD, BOWEN,                   CAIN      &     SKARNULIS
& ASSOCIATES, PC                      MCKINLEY & NORTON,                    PLLC
                                      LLP
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                                      Services, Inc.                        Co.



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                                  CERTIFICATE OF SERVICE

      I hereby certify a copy of the foregoing was filed electronically with the Clerk of Court using
the CM/ECF system on July 5, 2020.



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                                                          /s/ Manfred Sternberg
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